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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES,
                                                            No. 11 Cr. 206 (LTS)
                      Plaintiff,
                                                            ORDER
               -against-

ANTHONY BROOKS,

                      Defendant.


               Defendant Brooks has moved for compassionate release, pursuant to 18 U.S.C.

section 3582(c)(1)(A)(i). (Docket Entry No. 41.) The Court, having reviewed the motion and

having found that the interests of justice require the appointment of counsel for Defendant

Brooks in this matter, hereby appoints Kenneth Montgomery, Esq., as counsel for Defendant

Brooks pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A.

               The Government’s response to Defendant Brooks’ motion for compassionate

release must be filed by Nov. 13, 2020. A complete, unredacted courtesy copy must be provided

to defense counsel and emailed to Chambers via SwainNYSDCorresp@nysd.uscourts.gov. Any

reply must be filed by Nov. 20, 2020. The matter will be taken on submission unless the Court

directs otherwise.




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              Medical and other confidential personal information may be redacted from the

versions filed on ECF of the parties’ submissions. The parties must deliver unredacted copies of

any redacted filings to the drop box located in the lobby of the Daniel Patrick Moynihan

Courthouse, with a copy of this Order, no later than Nov. 30, 2020.

              SO ORDERED.

Dated: New York, New York

       October 26, 2020

                                                           /s/ Laura Taylor Swain
                                                           LAURA TAYLOR SWAIN
                                                           United States District Judge




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